        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 1 of 33                      FILED
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CALVIN BOWMAN,                              )
                                            )
      Plaintiff,                            )
                                            )    Civil Action Number
v.                                          )    2:18-cv-00364-AKK
                                            )
THE CITY OF BIRMINGHAM                      )
                                            )
      Defendant.                            )

                   MEMORANDUM OPINION AND ORDER

      Calvin Bowman, proceeding pro se, asserts retaliation claims under Title VII

of the Civil Rights Acts of 1964, 42 U.S.C. § 2000e-2 (“Title VII”), against the

City of Birmingham. Doc. 29. More specifically, Bowman alleges that the City

retaliated against him through five discrete acts after he filed a prior lawsuit against

the City and two employees, see Bowman v. City of Birmingham, et al., No. 2:17-

cv-00255-AKK (“Bowman III”). The City has now moved for summary judgment

arguing, among other things, that the alleged retaliatory acts fail to rise to an

adverse action, and that Bowman cannot show that the City’s articulated reasons

for the challenged conduct are pretextual. See doc. 32. For his part, Bowman has

moved for partial summary judgment on two of the five discrete acts of retaliation

– the threat of termination and a written reprimand. See doc. 35. Based on the




                                           1
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 2 of 33



evidence and consideration of relevant law, Bowman’s motion is due to be denied,

and the City’s motion is due to be granted except as to the written reprimand.

      I. MOTIONS TO STRIKE

      The court turns first to the parties’ motions to strike evidence, docs. 41 and

49, they each rely on in support of their respective summary judgment motions.

The court sets aside the somewhat unsettled question of whether a motion to strike

is the procedurally correct vehicle to challenge an evidentiary attachment to a

motion. See Jeter v. Montgomery Cty., 480 F. Supp. 2d 1293, 1296 (M.D. Ala.

2007) (declining to strike exhibits because motions to strike are only properly

granted with respect to pleadings). But see Thomas v. Ala. Counsel on Human

Relations, Inc., 248 F. Supp. 2d 1105, 1112 (M.D. Ala. 2003) (explaining that

“[a]ffidavits which fail to meet the standards set forth in Rule 56(e) may be subject

to a motion to strike”). Regardless of whether a motion to strike is proper here, the

court may only consider the evidence so long as “the statement[s] could be reduced

to admissible evidence at trial.” Macuba v. Deboer, 193 F.3d 1316, 1323 (11th

Cir. 1999). Given that the court’s role at summary judgment is to require the non-

movant to show “that she can make good on the promise of the pleadings by laying

out enough evidence that will be admissible at trial to demonstrate that a genuine

issue of material fact exists,” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249

(1986), there is a difference between considering evidence that does not strictly


                                         2
        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 3 of 33



conform to the rules of evidence, at least as presented, but has some probative

value and a statement that lacks any indicia of reliability at all.

      A. The City’s Motion

      The City moves to strike portions of Bowman’s November 2018 affidavit,

doc. 36 at 29, asserting that paragraphs 12-18 reference statements that are

“private, confidential, and privileged from process and discovery” pursuant to the

court’s mediation order, doc. 33-1, and Federal Rule of Evidence 408, and that

paragraphs 13-15 and 17-18 contain inadmissible hearsay. Doc. 41. Although the

City is correct that mediation proceedings are generally confidential, the bulk of

the statements in Bowman’s affidavit reference matters that are in the record

independent of the mediation proceeding – paragraph 12 references the parties

engaging in a second mediation, see doc. 33 in Bowman III; paragraphs 13, 14, 16

reference Bowman’s violations of the City’s email policies, see docs. 33-2 and 33-

3; and paragraph 18 references Bowman’s personal observation of alleged

violations of the City’s computer policies which he later describes in his December

2018 affidavit, see doc. 47-1.

      The City notes correctly, however, that paragraphs 15 and 17 reference

comments the mediator purportedly relayed to Bowman from the Bowman III

defendants, in particular that these individuals threatened to discharge Bowman if

he rejected their settlement offer.       Generally, the disclosure of the specific


                                            3
         Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 4 of 33



settlement offer would violate the mediation order and Rule 408’s protection of

confidential negotiations.       However, the comment is prominently featured in

Bowman’s complaint and amended complaints, docs. 1 at 35, 2 at 35, and 29 at 7,

and are already in the public record. Moreover, although the Eleventh Circuit has

not ruled on this issue precisely, other circuit courts have held that Rule 408 does

not exclude negotiation statements of “alleged threats to retaliate for activity

protected” which “serve to prove liability . . . for making . . . the threats,” see

Uforma/Shelby Bus. Forms, Inc. v. N.L.R.B., 111 F.3d 1284, 1294 (6th Cir. 1997),

or negotiation statements that “involved a different claim than the one at issue in

the current trial,” see Broadcort Capital Corp. v. Summa Med. Corp., 972 F.2d

1183, 1194 (10th Cir. 1992). 1

       Nonetheless, Bowman must still demonstrate that the discharge threats

satisfy a hearsay exception. Because paragraphs 15 and 17 contain hearsay within

hearsay (i.e. the mediator’s relay of the defendants’ purported statements), the

court must determine if “each part of the combined statements conforms with an

exception to the rule.” Fed. R. Evid. 805. The mediator’s statement to Bowman

about the City’s purported threats to discharge him fails to satisfy any hearsay

exception. The court is not convinced by Bowman’s contention that the mediator’s
1
  The alleged threats in Uforma were not considered hearsay because the employer’s human
resources manager, who was able to testify at trial, directly told the employees about the alleged
threat. 111 F.3d at 1287–88. Similarly, in Broadcort Capital Corp., the witness who heard the
statements directly from one of the negotiating parties testified at trial and the statements
concerned settlement discussions related to a different claim. 972 F.2d at 1194.
                                                4
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 5 of 33



statements are not hearsay under Federal Rule of Evidence 801(d)(2)(C) because

“the City . . . authorized the mediator to make the statements” to Bowman. See

doc. 43 at 3. A mediator is not by definition an agent of any party. Rather, the

“mediator facilitates discussions among litigants to assist them in identifying the

underlying issues and in developing a creative and responsive settlement package.”

See ALND Alternative Dispute Resolution Plan, Sec. IV Mediation. Similarly,

Bowman’s contention that the mediator’s statements are not hearsay because he is

offering them “solely for the purpose of proving that the statement (i.e., adverse

action) was made, not for the truth of the statement,” doc. 43 at 3, is unavailing. In

light of Bowman’s contention that the City retaliated against him by threatening

him with termination, there is no other reason for him to offer the evidence except

to establish the truth of what the mediator asserted. Therefore, because the

mediator is unable to testify at trial, the statements are inadmissible. United States

v. Dotson, 821 F.2d 1034, 1035 (5th Cir. 1987) (“The mere fact that one level of a

multiple-level statement qualifies as ‘nonhearsay’ does not excuse the other levels

from rule 805’s mandate that each level satisfy an exception to the hearsay rule for

the statement to be admissible.”).      Accordingly, Bowman’s references to the

specific settlement offer terms and the alleged threat to discharge Bowman are due

to be stricken. See Rowell v. BellSouth Corp., 433 F.3d 794, 800 (11th Cir. 2005)




                                          5
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 6 of 33



(“On motions for summary judgment, we may consider only that evidence which

can be reduced to an admissible form.”).

      B. Bowman’s Motion
      Bowman moves to strike new arguments regarding a pay increase the City

raises in its reply brief. Doc. 49. The City contends that it did not raise this

argument initially because Bowman failed to plead in his second amended

complaint that the City denied him a pay raise for violating the City’s computer

policy, and only raised this contention in his response to the City’s motion. Doc.

50. Bowman is correct that, generally, “[a]rguments raised for the first time in a

reply brief are not properly before a reviewing court.” United States v. Coy, 19

F.3d 629, 632 n. 7 (11th Cir. 1994). However, in his second amended complaint,

Bowman alleges broadly that the City issued him a written reprimand, among other

retaliatory acts, which collectively led to “pecuniary harm.”     Doc. 29 at 13.

Bowman only described the alleged pecuniary harm — a purported a denial of a

“5% pay raise . . . in October 2017” — in his response to the City’s motion for

summary judgment. Doc. 42 at 15. “Liberal pleading does not require that, at the

summary judgment stage, defendants must infer all possible claims that could arise

out of facts set forth in the complaint.” Gilmour v. Gates, McDonald & Co., 382

F.3d 1312, 1315 (11th Cir. 2004). Where, as here, Bowman waited until his

summary judgment briefing to describe the pay issue, despite possessing the


                                           6
        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 7 of 33



information when he filed this lawsuit, the City properly used its reply brief to

rebut Bowman’s clarified contention that the written reprimand influenced Oates’

decision to deny him a pay raise. See San Francisco Residence Club, Inc. v.

Baswell-Guthrie, 897 F. Supp. 2d 1122, 1202 (N.D. Ala. 2012) (citing Davis v.

Coca-Cola Bottling Co. Consol., 516 F.3d 955, 975 (11th Cir. 2008)).

      Bowman also moves to strike Faye Oates’ December 2018 affidavit, doc.

46-1, contending that the City failed to obtain leave to file evidentiary materials

after the deadline. Docs. 28 and 49. Upon review, paragraphs 1-4 of the affidavit

reference testimony that Oates provided in a prior deposition about the Crossplex

event assignment policy, and paragraphs 5-10 attempt to clarify why Bowman did

not receive a pay raise in October or November 2017. Doc. 37-2 at 8.             As

explained above, the City properly used Oates’ affidavit in its reply brief to rebut

new arguments Bowman raised in his response brief. Accordingly, Bowman’s

motion to strike, doc. 49, is due to be denied.

      II. LEGAL STANDARD FOR SUMMARY JUDGMENT

      Under Rule 56(a) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. “Rule 56[] mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to make a showing


                                           7
        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 8 of 33



sufficient to establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986) (alteration in original). The moving party bears

the initial burden of proving the absence of a genuine issue of material fact. Id. at

323. The burden then shifts to the nonmoving party, who is required to “go

beyond the pleadings” to establish that there is a “genuine issue for trial.” Id. at

324 (citation and internal quotation marks omitted). A dispute about a material

fact is genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson, 477 U.S. at 248.

      On summary judgment motions, the court must construe the evidence and all

reasonable inferences arising from it in the light most favorable to the non-moving

party. Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); see also Anderson,

477 U.S. at 255. Any factual disputes will be resolved in the non-moving party’s

favor when sufficient competent evidence supports the non-moving party’s version

of the disputed facts. See Pace v. Capobianco, 283 F.3d 1275, 1276, 1278 (11th

Cir. 2002) (a court is not required to resolve disputes in the non-moving party’s

favor when that party’s version of events is supported by insufficient evidence).

However, “mere conclusions and unsupported factual allegations are legally

insufficient to defeat a summary judgment motion.” Ellis v. England, 432 F.3d

1321, 1326 (11th Cir. 2005) (per curiam) (citing Bald Mountain Park, Ltd. v.


                                          8
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 9 of 33



Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

      The simple fact that both parties have filed partial motions for summary

judgment does not alter the ordinary standard of review. See Chambers & Co. v.

Equitable Life Assurance Soc., 224 F.2d 338, 345 (5th Cir. 1955) (explaining that

cross-motions for summary judgment “[do] not warrant the granting of either

motion if the record reflects a genuine issue of fact”). Rather, the court will

consider each motion separately “‘as each movant bears the burden of establishing

that no genuine issue of material fact exists and that it is entitled to judgment as a

matter of law.’” 3D Med. Imaging Sys., LLC v. Visage Imaging, Inc., 228 F. Supp.

3d 1331, 1336 (N.D. Ga. 2017) (quoting Shaw Constructors v. ICF Kaiser Eng’rs,

Inc., 395 F.3d 533, 538–39 (5th Cir. 2004)). The court notes that although cross-

motions “‘may be probative of the non-existence of a factual dispute’” they “‘will

not, in themselves, warrant [the granting of] summary judgment.’” United States v.

Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984) (quoting Bricklayers Int’l Union,

Local 15 v. Stuart Plastering Co., 512 F.2d 1017, 1023 (5th Cir. 1975)).




                                          9
        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 10 of 33



       III. FACTUAL BACKGROUND

       Since 1999, Bowman has worked for the City as an accountant and more

recently as a business officer in its Crossplex Department. Doc. 42 at 36. In

February 2017, Bowman filed his third lawsuit 2 against the City. Id. at 37. During

their second mediation session in October 2017, Bowman became upset over the

City’s settlement offer and purported threat to discharge him. Id. at 38. Bowman

argues that the City engaged in four other discrete acts of retaliation allegedly in

response to his rejection of the settlement offer — (1) a little over a week after

mediation, the City issued Bowman, through his supervisor Faye Oates (Director

of the Birmingham Crossplex), a written reprimand for violating the City’s

computer use policy. 3 Docs. 33-3, 33-5 at 2, 37-1 at 9, 33-4 at 7; (2) under its

assignment policy, 4 the City denied Bowman the opportunity to work at events as a

maintenance manager. Docs. 33-4 at 13-15, 46-1 at 17-18; (3) the City denied

2
  Bowman sued the City in 2004, see Bowman v. City of Birmingham, 2:04-CV-03487-RDP
(“Bowman I”), and in 2010, see Bowman v. City of Birmingham, 2:10-CV-00483-PWG
(“Bowman II”).
3
  Executive Order #72-95 dated February 2010 prohibits employees from using City equipment
“to access non-business related internet sites to conduct personal business or for personal
entertainment.” Doc. 33-2 at 1. Although the policy did not prohibit “occasional personal use,”
it prohibited employees from using computers that “interfere with the City activities and
responsibilities” or “performance of personnel duties.” Id. at 3. In Bowman’s case, Jarvis Patton
(the City’s Chief of Operations) discovered in preparation for mediation that Bowman had
scanned personal documents at work and was emailing the City’s attorney about his third
lawsuit.
4
  The Crossplex consists of three venues – a pool, a track, and an arena that are used for athletic
events. In October 2016, Oates established a policy that if “anyone on the CrossPlex staff is
going to work outside of their duties [during events], they have to have a post” and formally
“sign up as an event worker.” Doc. 37-2 at 7-8. The City utilizes this event worker signup sheet
to staff events at the Crossplex. Id.
                                                10
        Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 11 of 33



Bowman the opportunity to work as “Overall Manager” during events. Docs. 33-4

at 14, 46-1 at 23; and (4) after initially assigning Bowman to work as a cashier at

the 2018 NCAA Indoor Track & Field Championship, the City informed Bowman

that it no longer needed him for the event due to lower than projected attendance

rates and ticket sales. Doc. 46-1 at 18, 20-21. These alleged retaliatory acts are the

basis for this lawsuit.

       IV. ANALYSIS

       The City has moved for summary judgment fully, doc. 32, and Bowman has

moved on two of the five alleged retaliatory acts – the threats to discharge him and

issuance of a written reprimand regarding misuse of work computers, doc. 35.

However, because Bowman’s contention regarding the discharge threat is based on

inadmissible hearsay, this claim fails. 5 As such, the court will only consider the

City’s motion on the four remaining acts and Bowman’s motion on the written

reprimand.



5
  Moreover, unrealized threats of discharge do not constitute adverse actions when they cause no
objective change in employment. See Van Der Meulen v. Brinker Int’l, 153 F. App’x 649, 655
(11th Cir. 2005). Bowman devotes a substantial portion of his amended complaint describing
how the threat caused him “emotional distress, mental anguish, and severe sleeplessness” which
led to a “physical injury” and “diagnosis of depression.” Doc. 29. Subjective allegations of
personal suffering “[do] not suffice for a showing of the requisite adverse action, despite the high
significance [Bowman] may personally attribute to it.” Ewing v. Moore, No. 7:17-CV-00743-
LSC, 2018 WL 3852297, at *7 (N.D. Ala. Aug. 13, 2018); see Burlington N. & Santa Fe Ry. Co.
v. White, 548 U.S. 53, 68–69, (2006) (“An objective standard is judicially administrable. It
avoids the uncertainties and unfair discrepancies that can plague a judicial effort to determine a
plaintiff’s unusual subjective feelings.”).
                                                11
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 12 of 33



      Title VII prohibits employers from retaliating against employees who

oppose an unlawful employment practice. 42 U.S.C. § 2000e-3(a). Where, as here,

the evidence of retaliation is entirely circumstantial, the burden of proof shifts

between the employee and employer according to the McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1972), analytical framework. Furcron v. Mail Centers Plus,

LLC, 843 F.3d 1295, 1310 (11th Cir. 2016). Initially, the employee must show: (1)

that she engaged in statutorily protected expression; (2) that she suffered an

adverse employment action; and (3) that the adverse employment action would not

have occurred but for the protected activity. Univ. of Texas Sw. Med. Ctr. v.

Nassar, 570 U.S. 338, 360 (2013). If the employee establishes a prima facie case,

the burden shifts to the employer to “proffer a legitimate, non-discriminatory

reason for the adverse employment action,” but this burden is “exceedingly light.”

Meeks v. Computer Assocs. Int’l, 15 F.3d 1013, 1021 (11th Cir. 1994) (quoting

Tipton v. Canadian Imperial Bank of Commerce, 872 F.2d 1491, 1495 (11th Cir.

1989)). If the defendant meets its burden, “the burden shifts back to the plaintiff to

produce evidence that the employer’s proffered reasons are a pretext for

discrimination.” Alvarez v. Royal Atl. Developers, Inc., 610 F.3d 1253, 1264 (11th

Cir. 2010).




                                         12
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 13 of 33



      A. Whether Bowman Established a Prima Facie Case

      The parties agree that Bowman engaged in a statutorily protected activity by

filing Bowman III. See Gerard v. Board of Regents of State of Ga., 324 Fed. Appx.

818, 825 (11th Cir. 2009) (“Statutorily protected expression includes internal

complaints of discrimination to superiors, as well as complaints lodged with the

EEOC and discrimination-based lawsuits.”). Therefore, the crux of the dispute

hinges on whether Bowman can satisfy the adverse employment action and casual

relation prongs of the prima facie case.

      1. Whether Bowman suffered an adverse action

      An adverse employment action requires that the employee “show either

ultimate employment decision, i.e. termination, failure to hire, or demotion, or, for

conduct falling short of ultimate employment decision, serious and material

change in terms, conditions or privileges of employment.” Crawford v. Carroll,

529 F.3d 961 (11th Cir. 2008) (emphasis in original). When an employee alleges

“discrete acts” of retaliation, “each retaliatory adverse employment decision

constitutes a separate actionable unlawful employment practice.” Nat’l R.R.

Passenger Corp. v. Morgan, 536 U.S. 101, 114 (2002). “The court assesses

whether an employment action is materially adverse by deciding whether a

reasonable person would have found it materially adverse; a plaintiff’s subjective

opinion about the employment action does not control the assessment.” Jones v.


                                           13
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 14 of 33



City of Birmingham, No. 2:16-CV-01121-RDP, 2018 WL 2735636, at *5 (N.D.

Ala. June 7, 2018).

       In arguing that Bowman cannot show an adverse action, the City focuses

solely on the written reprimand. Doc. 34 at 11-12. However, Bowman alleges

also that he suffered adverse employment actions through a denial of a five percent

pay raise, management roles, and a cashier assignment. Doc. 29. The City does

not challenge these contentions on adverse action grounds. As a result, even if the

City is correct that the reprimand is not an adverse action,6 when the reprimand is

considered in conjunction with Bowman’s other unchallenged contentions,

Bowman has in fact satisfied the adverse action prong. See Shannon v. Bellsouth

Telecommunications, Inc., 292 F.3d 712, 716 (11th Cir. 2002) (While individual

actions “might not have individually risen to the level of adverse employment

action under Title VII, when those actions are considered collectively, the total

weight of them does constitute an adverse employment action.”).

       2. Whether Bowman has established that the adverse actions are causally
          related to his protected activity

       To satisfy the causation element, Bowman must prove that but-for the City’s

desire to retaliate, he would not have suffered the adverse employment actions.


6
  While the City is generally correct that a “reprimand . . . does not constitute an adverse
employment action when the employee suffers no tangible harm as a result,” Pennington v. City
of Huntsville, 261 F.3d 1262, 1267 (11th Cir. 2001), Bowman maintains that the written
reprimand resulted in an “eight-month loss of a pay raise.” See docs. 36 at 29 and 46-1.

                                             14
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 15 of 33



Booth v. Pasco Cnty., 757 F.3d 1198, 1207 (11th Cir. 2014) (citing Nassar, 570

U.S. at 363). A plaintiff can prove causation through “sufficient evidence that the

decision-maker became aware of the protected conduct, and that there was a close

temporal proximity between this awareness and the adverse . . . action.” Shotz v.

City of Plantation, Fla., 344 F.3d 1161, 1180 n.30 (11th Cir. 2003) (citation

omitted).

      Bowman has made this showing. Specifically, Patton discovered Bowman’s

misuse of the City’s computers and email for his personal lawsuit when preparing

for the mediation in Bowman III. Thereafter, Patton shared his findings with

Bowman’s direct supervisor, and she, in turn, issued the written reprimand a little

over a week later and engaged in the other retaliatory acts within a few months of

the mediation. Because of Patton’s awareness of the protected activity and the

short timeframe between the mediation and the adverse actions, Bowman has

sufficiently created a presumption of causation to establish a prima facie case.

      B. Whether the City Offers Legitimate Non-Discriminatory Reasons
      and Bowman Demonstrates Pretext

      “Once a plaintiff establishes a prima facie case of retaliation, the burden of

production shifts to the defendant to rebut the presumption by articulating a

legitimate, non-discriminatory reason for the adverse employment action.” Bryant

v. Jones, 575 F.3d 1281, 1308 (11th Cir. 2009). The court will address next the

parties’ respective contentions for each alleged retaliatory act. Doc. 34 at 14-17.
                                          15
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 16 of 33



      1. Written Reprimand

      The City asserts it issued the written reprimand because Bowman violated

former Mayor William A. Bell’s memorandum that instructed City employees that

use of internet, computer, electronic equipment and email is “authorized for

official business only.” Doc. 33-2 at 2. Employees who “violate these policies will

be subject to disciplinary actions, up to and including employment termination.”

Id. Indeed, Bowman concedes that he used his City computer and email to send

personal emails to the City’s attorney about the Bowman III lawsuit. See docs. 37-

1 at 8-11, 37-2 at 12-14, and 33-4 at 7-8 (“No, I don’t deny that I sent you emails .

. . [from] my City email.”). Viewed in this light, the City has met its burden of

showing that it issued the reprimand for legitimate, non-retaliatory reasons.

      Therefore, the burden shifts to Bowman to show pretext. Alvarez, 610 F. 3d.

at 1264. “A reason is not pretext for discrimination ‘unless it is shown both that

the reason was false, and that discrimination was the real reason.’” Brooks v. Cnty.

Com’n of Jefferson Cnty., Ala., 446 F.3d 1160, 1163 (11th Cir. 2006) (citing St.

Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 515 (1993)) (emphasis added).

Moreover, Bowman cannot recast the proffered reason but “must meet it head on

and   rebut    it,”   showing    “weaknesses,    implausibilities,   inconsistencies,

incoherencies, or contradictions in the employer’s rationale.” Trigo v. City of

Doral, 663 Fed. App’x 871, 873 (11th Cir. 2016) (citing Holland v. Gee, 677 F.3d


                                         16
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 17 of 33



1047, 1055-56 (11th Cir. 2012)). If Bowman fails to demonstrate a genuine

dispute as to a material fact regarding pretext, the City is entitled to summary

judgment. Combs v. Plantation Patterns, 106 F.3d 1519, 1528 (11th Cir. 1997).

      To show pretext, Bowman maintains that several other employees violated

the same policy without facing any discipline. Doc. 42 at 19-24. “While a plaintiff

can attempt to meet his burden of showing pretext with evidence that other

employees were treated differently despite engaging in similar acts as the plaintiff,

the plaintiff must show that the other employees are similarly situated to the

plaintiff in all relevant respects.” Rioux v. City of Atlanta, Ga., 520 F.3d 1269,

1280 (11th Cir. 2008) (citation omitted). “[T]o determine whether employees are

similarly situated, [the court] evaluate[s] whether the employees are involved in or

accused of the same or similar conduct and are disciplined [by the same decision

maker] in different ways.” Burke-Fowler v. Orange Cty., Fla., 447 F.3d 1319,

1323 (11th Cir. 2006) (citing McDonnell Douglas, 411 U.S. at 805).

             a. Faye Oates

      Bowman testified that he “periodically observed Faye Oates watching

YouTube videos on her City computer between 2014 and 2017,” doc. 42 at 39.

The reliance on Oates is flawed for multiple reasons. As an initial matter, there is

a difference between “periodically” watching YouTube videos and Bowman’s

alleged conduct of using his City computer and email to send a binder full of


                                         17
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 18 of 33



emails and attachments about his personal lawsuit. Indeed, Bowman does not

explain how Oates’ conduct falls outside the exception for occasional personal use

that is deemed as acceptable under the policy. Moreover, there is no evidence that

Patton knew about Oates’ conduct other than Bowman’s contention that he told

Patton about it during the mediation in response to the purported threat to

discharge him. Id. at 39-40. See Knight v. Baptist Hosp. of Miami, Inc., 330 F.3d

1313, 1317 n. 5 (11th Cir. 2003) (finding that a supervisor must have actual

knowledge of the misconduct for an employee to be considered similarly situated

when comparing disciplinary actions). And even with Bowman’s report to Patton,

to the extent that the City has the ability to track down Oates’ web history to

ascertain whether she exceeded the allowed occasional personal use, Bowman has

not presented any such evidence. Indeed, there is no evidence that the City can

even capture data on websites a specific employee visited for the months preceding

Bowman’s complaint to Patton or as far back as 2014 when Bowman alleges he

first observed Oates’ conduct. In contrast, apparently the City can capture emails,

as it maintains that Patton became directly aware of Bowman’s conduct through

emails that Bowman sent to the City’s attorney in Bowman III. Therefore, on this

record, Bowman has failed to establish that he is similarly situated to Oates.




                                         18
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 19 of 33



             b. Kim Jackson

      Bowman claims next that Jackson used the City’s copier for personal

reasons. Specifically, Sandra Brown, an administrative supervisor in charge of

payroll and timekeeping, testified about Jackson making copies and scanning

documents on the City’s copier for her personal business. Docs. 36 at 46; 42 at 22,

42. Bowman testified also that he periodically observed Jackson make copies of

sales documents in the copier room and that in 2012 he reported Jackson to Kevin

Moore, former director of the Crossplex, who purportedly did not discipline

Jackson.   Doc. 42 at 22, 78.      The contentions against Jackson fall short of

establishing that she is “similarly situated to [Bowman] in all relevant respects.”

Rioux, 520 F.3d at 1280. First, Bowman is charged with violating a policy related

to internet/email usage. Doc. 33-2. According to the memorandum announcing the

policy, the City implemented the policy to address concerns related to internet

security breaches, spyware, and viruses: “Internet use brings the possibility of

serious breaches to the security of confidential information, contamination to our

system via viruses or spyware, and unnecessary distractions from our expected

work and productivity.” Id. at 2. The actual policy includes prefatory language

stating, “The following policies deal with Internet, Intranet, Wide Area Network

(WAN), e-mail, online services, and desktop computer policies.” Id. at 4. Using a

copier falls outside of the policy and the concerns it addressed. See id., generally.


                                         19
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 20 of 33



Second, Bowman has failed to offer any evidence that Patton, who made the

decision to discipline him, knew of Jackson’s purported use of the copier for

personal needs – assuming such practice is even prohibited. There is no evidence

in the record that Moore forwarded Bowman’s report about Jackson’s misconduct

to Patton. See Silvera v. Orange County Sch. Bd., 244 F.3d 1253, 1261 n.5 (11th

Cir. 2001) (“differences in treatment by different supervisors or decision makers

can seldom be the basis for a viable claim of discrimination”). Finally, to the

extent the policy related to internet/email usage covers copy machines, Bowman

has also failed to present evidence that Jackson’s personal use exceeded the

occasional use permitted under the policy. Therefore, under this record, Bowman

has failed to show that he is similarly situated to Jackson in all relevant respects.

See Burke-Fowler, 447 F.3d at 1323.

             c. Tara Nix

      Similar to Jackson, Bowman contends that he witnessed Nix use the City’s

copier to copy and scan documents to her City email for her rental property

business, doc. 42 at 43-44, and that Sandra Brown also witnessed Nix grabbing

copies related to rental properties at the copy machine, doc. 36 at 44-45. Again, the

internet/email usage policy Bowman purportedly violated does not apply to

copying machines. See supra at Section (B)(1)(b).        Moreover, even if it did,

Bowman reported his single observation of Nix using the copy machine in 2015 to


                                         20
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 21 of 33



Oates who allegedly did not discipline Nix. Doc. 47-1 at 7. The one or two

infractions Bowman and Brown cite are different from the documented multiple

violations by Bowman, who concedes that he “prepared [multiple documents] at

home on his personal computer and . . . attached [them] to a few of his [work]

emails.” Doc. 42 at 20. See e.g. Curtis v. Broward Cty., 292 F. App’x 882, 884

(11th Cir. 2008) (“[Female employee] did not establish that [male employee]

engaged in the same quantity of misconduct that she did, alleging that he hung up

on a customer once or, at most, twice, while she had hung up on that customer four

times.”); Maniccia v. Brown, 171 F.3d 1364, 1368 (11th Cir. 1999) (holding that a

female employee was not similarly situated to three male employees because the

male employees were involved in only a single incident of alleged misconduct,

while the female employee committed “at least four policy violations”). Finally,

Bowman fails to offer any evidence that Patton knew about Nix’s misuse of the

City’s copier and failed to discipline her. Accordingly, Bowman’s reliance on Nix

to demonstrate pretext also fails.

             d. Bowman’s Prior Computer Misuse

      Lastly, Bowman maintains that the City’s decision to discipline him is

pretextual because he used the City’s email in September 2010 to communicate

with the City’s attorney about a prior lawsuit, Bowman II, without any similar

repercussions   Accepting Bowman’s contentions as true, apparently, Bowman


                                       21
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 22 of 33



spoke with Patton about this 2010 communication during his second lawsuit, and

Patton “never told [Bowman] that [his] emails violated City policy, . . . never

sought discipline, . . . and never threatened to terminate [his] employment with the

City for those emails.” Doc. 47-1 at 7. However, when Bowman violated the

City’s policy during Bowman III in 2017, Patton “called IMS [the City’s internal

computer department,] and asked them to provide . . . information from

[Bowman’s] City computer.” Doc. 37-1 at 8-9. Bowman maintains that Patton

only did so because Bowman named him as a defendant in Bowman III. As a

result of this prepared audit report, which Patton describes as being “two inches

thick” and Oates maintains it contained “a hundred pages of documents,” Oates,

under the direction of Patton, sent Bowman a written warning that Bowman should

“cease and desist from using City equipment for personal use.” See docs. 33-3 at

2; 37-1 at 9; 37-2 at 13. In light of Patton’s alleged awareness of Bowman’s

misconduct in Bowman II and the City’s failure to refute or explain why it took no

disciplinary action against Bowman at the time, Bowman has provided

circumstantial evidence to create a triable issue on whether the City’s articulated

reasons for issuing the reprimand is pretextual. Smith v. Lockheed-Martin Corp.,

644 F.3d 1321, 1328–29 (11th Cir. 2011) (“the plaintiff will always survive

summary judgment if he presents circumstantial evidence that creates a triable

issue concerning the employer’s . . . intent.”).


                                          22
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 23 of 33



      Bowman’s own motion related to this reprimand is also due to be denied.

An issue of fact exists regarding whether the 2017 misuse, unlike the 2010 use, far

exceeded the occasional use permitted by the policy. Accordingly, Bowman’s case

will proceed to trial on the written reprimand claim, during which, among other

things, Bowman will have to present evidence on how this reprimand qualifies as

an adverse action.

      2. Denial of Requests to be Maintenance Manager at Crossplex Events

      The next alleged retaliatory act is the denial of the requests to work as

maintenance manager at Crossplex events. More specifically, there are two events

in question — December 30, 2017 when Bowman worked and a subsequent

request a few weeks later that Oates denied. At issue here is Bowman’s contention

that he did not have to sign up to work at events in light of the temporary

maintenance duties assigned to him.

      As general background, in early 2017, Wayne Staton left his position as the

maintenance supervisor of the Crossplex – a position which included many roles

such as supervising the set-up crew, maintenance staff, and events staff. Doc. 36 at

66. Sometime later that summer, Oates assigned Ricky Lee some of Staton’s

duties including the supervision of the maintenance staff and needs for the

department. Doc. 37-2 at 12-16. The City discharged Lee approximately five

months later, and Oates asked Bowman and other employees to take over


                                        23
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 24 of 33



temporarily some of Lee’s job duties related to supervising the maintenance staff.

Id. The City maintains that it never formally designated Bowman, or any of the

other employees temporarily filling in the various roles of the maintenance staff, a

maintenance manager title or Staton’s and Lee’s formal titles which included

working at events. Id. at 15-16. As to Bowman, the City contends it assigned him

only specific maintenance tasks dealing with Bowman’s background in financial

management. Id. Consequently, to the extent that Bowman wanted to work outside

his normal duties at any of the events held at the Crossplex, the City asserts that

Bowman needed to express his interest on the signup sheet as any other employee.

      Bowman maintains that Oates’ decision to assign him some of the duties of

the maintenance manager entitled him automatically to work at all the events at the

Crossplex. He adds that the City’s refusal to grant him this right resulted in loss of

“earning manager pay” at purportedly over fifty events. Doc. 42 at 25-30. To

support his contention, Bowman maintains that (1) Oates asked him to handle

everything maintenance related until the City hired someone permanent for the

role, doc. 33-4 at 35; (2) email exchanges with Oates reveal that she assigned him

responsibilities of hiring an electrician to address the electrical surge issues and to

maintain the sewer system at the Crossplex, doc. 42 at 50-52; (3) the City did not

require him to sign up for a formal event assignment post when Sandra Brown

asked him to substitute for her as the events manager, docs. 42 at 28; 34 at 6; and


                                          24
         Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 25 of 33



(4) Oates denied his request to work during an event to oversee an electrical issue

but allowed another employee, who was also temporarily assigned some of the

maintenance roles, to work during events. Doc. 42 at 45. For the reasons stated

below, none of these contentions show that the City’s articulated reasons are

pretextual.

         As an initial matter, Bowman has presented no evidence that Oates assigned

him all the maintenance supervisor roles or duties or any of Staton’s duties related

to supervising set-up and event crews. Doc. 36 at 66. According to Oates, she

“split duties up and assigned [the maintenance supervisor duties] to a few people.”

Doc. 37-2 at 15. Bowman concedes this point and acknowledges that he was not

the only “one to assume all of [the maintenance supervisor’s] duties” and that he

was in charge of some duties, including “making sure the repairs were done.” Id. at

14. See also doc. 33-4 at 10 (Bowman’s deposition that: “Q. So let me ask you

this. Were you told that you were literally going to completely replace Wayne

Staton when he announced him leaving the CrossPlex or, as Ms. Oates testified,

were you told that you were going to be given some of his responsibilities? Did

you take on every single one of Mr. Staton’s responsibilities or did Ms. Oates

divide those responsibilities among more than you? A. She divided them. She gave

me a portion, and I'm not -- I don't remember who else she gave the other portion

to.”).


                                         25
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 26 of 33



      Bowman also concedes that it was not clear whether the temporary duties he

received required him to work during Crossplex events, testifying that Oates

“never made a statement telling [him] to work events to cover maintenance . . .

[and] she never made a statement telling [him] not to.” Id. The issue of contention

here stemmed from Bowman’s decision to work during an event on Saturday,

December 30, 2017, when he purportedly assumed that he needed to oversee the

maintenance staff’s work that day on the heating system. Id. When Oates learned

that Bowman had worked that Saturday, Oates reminded Bowman of the event

assignment policy, which apparently Bowman never signed up for, and Bowman

replied that he “will not work anymore events.” Docs. 37-2 at 16 (Bowman’s

stating “I decided to work to make sure we did not have any maintenance problem

and to see exactly what the maintenance staff were doing during events . . . But as

instructed, I will not work anymore events.”) and 46-1 at 22 (Oates’ testimony that

“I do remember sending you an e-mail about working a post. When I assigned you

to serve as the liaison, we did not discuss you working events in Wayne’s capacity.

So I did say — I sent you an e-mail saying — reminding you of the policy. I think

I forwarded you an e-mail [about the policy] that I had sent a year or two prior.”).

The event assignment policy required that if “anyone on the CrossPlex staff is

going to work outside of their duties [during events], they have to have a post” and

formally “sign up as an event worker.” Doc. 37-2 at 7-8.


                                        26
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 27 of 33



      In addition to admitting that he informed Oates that he will no longer work

events, Bowman also concedes that he “never asked to be on one of [the City’s

events assignment] lists” and that Oates never prevented him from signing up for a

post. Doc. 33-4 at 16. Despite acknowledging the existence of the signup policy

and that he had not utilized it, Bowman maintains still that Oates inconsistently

applied the policy as “part of her program to deprive [Bowman] of earnings

whenever she can in retaliation for his protected activity in the prior case.” Doc. 42

at 29. To demonstrate the purported inconsistent application of the signup policy,

Bowman maintains that he once “took note that Ricky Lee was not working in a

‘post’ position during the time that [Lee] was working as the maintenance

supervisor during events in the Crossplex division.” Doc. 47 at 10. Although

Bowman is correct that the inconsistent application of a policy can be suggestive of

discrimination, see Morrison v. Booth, 763 F.2d 1366, 1374 (11th Cir. 1985), Lee

is not a proper comparator as he was in fact assigned the temporary role as

maintenance supervisor which required him to work events.            Doc. 47-1 at 9

(Bowman’s affidavit that “Faye Oates gave . . . Ricky Lee the job duty of

supervising the maintenance staff and maintenance needs for the Birmingham

Crossplex department. Faye Oates made the announcement [that] Ricky Lee was

supervising maintenance [during] one of the staff meetings in the summer of

2017.”). As stated previously, after Lee’s discharge, Oates reassigned Lee’s duties


                                         27
          Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 28 of 33



to multiple employees, including Bowman. Bowman concedes that Oates never

formally assigned him the maintenance supervisor position and that she did not

mention that Bowman’s temporary maintenance duties included working during

events.     Accordingly, the purported inconsistent application between Lee and

Bowman does not render the City’s legitimate explanation that it was merely

enforcing the assignment policy implausible or inconsistent to the degree that a

reasonable fact-finder could find it unworthy of credence. Combs, 106 F.3d at

1543.

        As to the next alleged example of an inconsistent application, Bowman

contends that the City allowed him to fill in as an events manager for Sandra

Brown without requiring that he utilize the events signup policy. As Bowman

notes, however, the events manager, Brown, specifically asked Bowman to

substitute in her place as a manager overseeing employee sign-in at events. See

doc. 36 at 45 (Brown’s deposition that “Q: Is it true that [Bowman has] worked in

place of you to supervise the sign-in/sign-out process at events held throughout the

Birmingham Crossplex Department? A: Yes, that’s true.”) and doc. 37-2 at 8

(Oates’ deposition that “Q: Do you have any knowledge of me filling in for the

signing supervisor, Sandra Brown? A. I do. You just reminded me of that. I know

that Ms. Brown will ask you to clock people in — event staff to clock them in and

clock them out when she is unable to do that duty.”). In that respect, Bowman was


                                        28
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 29 of 33



the actual events manager that day in a role that required that he work at an event.

As such, his work as an events manager was outside the assignment policy which

only applies to employees who “work outside of their duties [during events]” and

must formally “sign up as an event worker.” Doc. 37-2 at 7-8. Accordingly, this

example fails to demonstrate that Oates inconsistently applied the assignment

policy. See Combs, 106 F.3d at 1543 (noting that a potential disagreement over an

employer’s decision does not, without more, create a basis to disbelieve an

employer’s explanation).

      Finally, the denial of Bowman’s request a few weeks later to work on a

Saturday to oversee an electrical issue with a copier, doc. 42 at 25, also does not

prove retaliatory animus. Although Oates agrees that Bowman worked “with the

maintenance staff and the copier vendor to try to resolve that problem,” Oates

contends that she did not need Bowman outside his standard work schedule on this

issue because Bowman lacked electrical experience, that she had already assigned

an electrician for the event, and that two other employees with temporary

maintenance assignments were also scheduled to work the event. Doc. 37-2 at 16-

18. Bowman does not refute these contentions and has offered no evidence to

show that the two employees Oates references failed to sign up through the

assignment post policy or that it was unreasonable for Oates to limit the number of

employees overseeing the electrical issue. Ultimately, Bowman may only “survive


                                        29
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 30 of 33



summary judgment . . . if there is sufficient evidence to demonstrate the existence

of a genuine issue of fact as to the truth of each of the employer’s proffered

reasons for its challenged action.” Combs, 106 F.3d at 1529 (emphasis added).

The failure to rebut Oates’ contentions dooms Bowman’s claim.

      To summarize, Bowman concedes that Oates only assigned him some of the

duties of the maintenance role, that Oates told him to utilize the signup sheet if he

wanted to work in a role beyond his normally assigned duties during events, that he

never utilized the signup sheet, and that he told Oates he would no longer work any

events. Moreover, Bowman has not offered any evidence that Oates allowed other

similarly situated employees who did not utilize the signup sheet to work events. In

short, the record does not permit the inferential leap required to conclude that

Oates or the City, rather than Bowman’s own failure to utilize the post assignment

sheet, prevented Bowman from working at Crossplex events. Therefore, Bowman

has failed to present any evidence that the City’s “proffered reason is unworthy of

credence or . . . that [retaliation] more than likely motivated” its decision. Elrod v.

Sears, Roebuck & Co., 939 F.2d 1466, 1471 (11th Cir. 1991).

      3. Overall Crossplex Manager Position and Cashier Role Assignment

      Finally, Bowman claims that the City retaliated against him by denying him

an “overall” manager role and a cashier position. The City contends that it does

not have a so-called “Crossplex Event Manager” position. Docs. 33-5 at 3, 46-1 at


                                          30
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 31 of 33



2 (Oates’ testimony that “[o]f the duties assigned [at Crossplex], I never created,

nor did I ever have any knowledge of a position characterized as an overall

manager position.”). As to the cashier role, the City contends that it initially

assigned Bowman the position at a NCAA event because it needed “all hands on

deck.” Doc. 37-2 at 19. Oates testified that the City asked employees “from all

over the City” with “all different kinds of backgrounds” to help for events “as big

as a national championship through the NCAA where [the Crossplex] was going to

have thousands of people in the building,” id. at 11, and that she assigned Bowman

to cashier duties due to his familiarity with handling money and the Ticket Biscuit

system, id. at 20. However, ultimately, the City rescinded the cashier assignment

due to a projected decline in sales and attendance rates at the NCAA event. Id.

      Having met its burden of producing non-retaliatory reasons for these two

decisions, the burden shifts to Bowman to show pretext. Bowman has failed to do

so with respect to the “overall manager” position, as he does not refute the City’s

contention that it has no such position: “Q: But it’s your position that it’s

retaliation against you because [Oates is] not putting you in a role that you don’t

know whether or not it even exists? A. Yes, because she could have easily, when I

asked her about it, said, ‘Oh, no, it don’t exist.’ She just didn’t respond, which that

was curious in itself.” See doc. 33-4 at 18. Without more, Bowman has failed to

establish that the City’s proffered reason is pretextual.


                                          31
       Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 32 of 33



      Bowman’s claim for the cashier role assignment is also doomed by a lack of

actual evidence. Bowman does not even address the City’s contention that it

removed him from the schedule due to lower than projected attendance to the

NCAA championship. Bowman claims only that he believes that Oates preempted

a cashier manager from asking Bowman to play a role in the event. Doc. 33-4 at

20-21 (Bowman’s testimony that “[e]ven if [the cashier manager] would have or

would not have, I don’t know, but I think [Oates] preempted him.”).          This

contention does not meet the City’s articulated reason head on. See Trigo, 663

Fed. App’x at 873 (to demonstrate pretext, the employee “must meet [the

employer’s proffered reasons] head on and rebut it”).            Moreover, such

“unsupported speculation . . . does not meet a party’s burden of producing some

defense to a summary judgment motion.” Cordoba v. Dillard’s, Inc., 419 F.3d

1169 (11th Cir.2005) (finding that claims that are “entirely without foundation”

should not be presented as triable issues of fact). Therefore, summary judgment is

due on this, as well as the overall manager, claim.

      V. CONCLUSION AND ORDER

      Consistent with this opinion, the City’s motion to strike, doc. 41, is

GRANTED solely as to paragraphs 15 and 17 of Bowman’s November 2018

affidavit, and Bowman’s motion to strike, doc. 49, is DENIED. Therefore, the




                                         32
      Case 2:18-cv-00364-AKK Document 52 Filed 02/07/19 Page 33 of 33



court STRIKES paragraphs 15 and 17 and the Clerk is DIRECTED to seal

Bowman’s November 2018 Affidavit, docs. 36 and 41-1.

      Bowman’s motion for summary judgment, doc. 35, is DENIED, and the

City’s motion, doc. 32, is GRANTED solely as to the retaliation claims related to

the threat of termination, overall Crossplex events manager role, maintenance

manager role, and cashier role assignment. Accordingly, these four claims are

DISMISSED WITH PREJUDICE.

      The pretrial conference and trial will proceed on February 8, 2019 and

March 18, 2019 as scheduled on Bowman’s remaining claim related to the written

reprimand.


      DONE the 7th day of February, 2019.

                                     _________________________________
                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE




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